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1994R04614
UNITED STATES DISTRICT COURT
DISTRICT OF NEW JERSEY
UNITED STATES OF AMERICA : Hon. DICKINSON R. DEBEVOISE
Vv. : Criminal No. 96-7315)
MIGUEL ORTIZ : ORDER FOR DISMISSAL

Pursuant to Rule 48(a) of the Federal Rules of Criminal
Procedure and by leave of court endorsed hereon, Ralph J. Marra,
Jr., the Acting United States Attorney for the District of New
Jersey, hereby dismisses the Indictment, Criminal No. 96-73-15,
against defendant Miguel Ortiz, which Indictment was filed on
February 1, 1996, charging the defendant with a violation of
Title 18, United States Code, Section 1956, for the reason that
further prosecution of this defendant at this time is not in the
best interests of the United States.

This dismissal is without prejudice.

Ly J. Ppt yt

RALPH J. MARRA, JR.
Acting United States Attorney

Leave of Court is granted for the filing of the

foregoing dismissal.

 

 

HON . DICKINSON R. DEBEVOISE
United States District Judge
